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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 6 of 19 Page ID #:26

            pair. He is also experiencing headaches, chest pain, anxiety
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      ~                   ~~- ~ ~Jnder the FDC~A, plaintiff is entitled try ar~y actual da~~nages

     ~~~          resulting from defent~nt`s vic~lati~ns. 15~~.S.C. 1629k(A~~:9~1j. Actual

    !o            damages may include recovery for emati~nal distress such as emberassment,

     ~~~          fear; naus~a:r and ether symptoms wising from a defendant's violaticans
     ~ F~         _
                  Sowell vo Blackrock Assets Mgmt., LLC, 2011 UaS. LEXIS 69178 WL 4551450,
            3     at 3(CgD, Cal 2011).

                         ~~. Eden vo M~.dlarici Cr~:clit Mana~iient, Ir~c.. a48 ~'. Supt. 2a ~.U30, 1U/~~.
Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 7 of 19 Page ID #:27

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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 8 of 19 Page ID #:28
Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 9 of 19 Page ID #:29


                                                           NOTICE

                                                                                          DATE: 11-04-2015

                                                                                          Certified Mail N~mb~
      Yoshio I Acosta
       or~sume~c      ~~                                                                  Social Security Num~~x°
                                                                                          ~          XXX-XX-4534
      Mark McleanmPresident                                                                Alleged Aeeount{~)
      Paramount Recovery Systems                                                           ~` MACSQPMS16271xxxxx --A
       De t       o       actor                                                               MACSQPMS16300XXXXX ~--B



    SUBJECT: Request £or Validation of Debt, and Notice of Re~ervatton of
    [~i~ht9 fay° initiating a Cou~►ter Claim a ~ainst the Debt Collector e s

     o fficial Bond.
                      Consumer ° s Pri~at~ Notice of Administrative Remedy

           'The private notice of administrative ~eemedy demand is bir~d~ng

     upon every princi.pl~ agent ~e~ardin~ the subject natter yet forth

     hesetc~ above a
           tJri.tken eommun~cation tiax Val~~ation of allested de~t(s) pursuant

      t o Fair Debt Collection Practices Act, 15 U.S.Ca § 1692 (a)(1)m
              L t has ~om~ tQ my attent~.o~ after reviewing a ~ap~ ~E my credit
                                                                r
      cep~rt dated ]()/1 ~/~~1 5                              ~ that your agency has comma~r~tcated ts~
                                                              24~ 0 ;0$545
      rqu~ifax, Transunion or E~cper~ar~ that ~. oeae (~) ~)$

       to your cc~~npany a E'lease node that I consider your demand F~~ money

         w ~~tten communi.catian Eram a debt collector. I row ~xer~~~e nr~
                                                                             •.;
       ~ ~~,h~s r~ur~~~ar~~ ~c~ ~~ ~~~~`u ~ ~,6~2~.~~~:~~~ a~t~ ~:~~~~b, ~~: .~1y~,.'~`r.~~~r~




              ?.~~°a~'h   ,f1N.;~,~~F"!;' ~;p,J9~~   ,~'~'+L.a,f~~9~h~~°   3`!~,'1~jd~,~~~'>~`~;'~




         ~ dmp~,pted %~ ~~_~ ~.t, ~                    ~~~~s~ ~~~ri<<~ :ati~t~ _~s:;_„~~ed .~.                 _    ,a.~~-~~, -_~

                                                                           PAGE ~. e£ 5
Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 10 of 19 Page ID #:30



                           t>
   nF your agency "g receip
                                                            CAVE~4'~
                                                                           ~
           I  am res pec tfu lly pro viding advance notice to your agency
   1~
                                     TITLE 15 U.S.C. § 1692 for failure t~
   the civil liabilities under
                                         this tiele [15 USCS§§ 1692 et sage]„
   comply with said provisions of
                                              The debt collector must cease
   2.       Upon receipt of this NOTICE,
                                        ing the alleged debts) until the
    all collection activity regard
                                        requested verification ~s required by
    respondent is sent the herein
                                      CTICES AC'T a
     the FAIR DEBT ~~LLEC'T~ON PRA
                                             by commission, omission, and ether
     3E      If debt collector, such as

     wise
                                                   t full disclosure ~ega~ding
                      (a) Fails in giving responden
                                                       collector's claim
                          the nature and cause of debt
                                                                    referenced alleged d~bta
                                       concern~.ng the herein above
                                                                                          r~1E t:'t`i~Y°ale:i;~~   vi ir~~c~.ea
                       (~~ ~81Ce3 f~~S~                      ~epresentats.on         6C


                                       above referenced alleged debt.
                                                            o~ of the legal sCatus of the
                 (c) Makes false ~epresentati
                                                                   d debt.
                          herein abo~ee referenced allege
                                                                thak cannot ~~~ally be taken
                    ~d) Makes any threat of action
                                                                     Law s sucks ~.s the l~~a
                           in violation ~£ any applicable
                                                                 PRACTICES ACT
                           a t the F~Itt DEBT COL.L.ECT~ON
                                                      counterclaim and e.la in against t.~~
             R esponden~ may initiate ~
                                                                                               at. :; ~. ~~~
               ~;~1 J.~~ ~c~r ~ s be~►~~ :~~ ~~ { :+, ~~ ~ur~ds of ~~c~ :gym ~.a:~~~ ~~.~ ~~~~
         debt


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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 11 of 19 Page ID #:31



    D~S6bOSUR~ S'FA`FEMENT A'~TACHED---                                     -- ------- - - - - -
                                                                    ~
           (a) Debt Collector's unsubstantiated demand Ear payment.

                   a scheme to be delivered by mail may constitute mail fraud

                   under the State and Federal Lawse (Debt Collector may wish

                   to consult with a competent legal council before
                                                                   ndent)
                   originating any further communication with respo
                                                                 the
            (b) Debt Collector's failure in providing respondent
                                                                           enced
                    ~equisik~ Verification, Validating *lie above re.Ee~
                                                                       ~~~ie~ ire the
                    ~.11e~e~ debt within the ~equiremen~s off' lara a~
                                                                   corresponding
                     FAIR DEBT COLLECTIOIi PRACTICES ACT and the
                                                                    ctor tacitly
                     laws of each state signifies that debts colle

                     agrees that:

                                                                      clair~
      I           Debt Collector hay no 1awf~1, bona fide, verifiable
                  r~&,~,rc# ,~v, kh~ above ~~~e~~c~ced all,e~,ed account a
                                                                   ~esponden~e
      II          Debt ~ollectar waives any and all ~Laims against
                                                                        gill
       III        bebt ~.ollectc~r tacitly agrees that Debt Colle~~o;~
                                                                  eacp~nse~
                  compensate respondent for al cost, fees, .and
                                                                  ~r~y continued
                  incurred in defending against this claim and
                                                                   ~b~v~ referenced
                   fraud~al~~t collection attempts regarding ~h~
                   alleged ~ccounto
                                                                       the c~a~u~a and ~~~~~
          ~,        'This is also an at[emp~ ~o~ determining
                                                           c~eb~ ~.~~~~~~-car<~ > :aaa~ ~~~
          ~f ~ ~.as~ ~~ ~~~~~~~~.Y~~~a ag~i~st ~~~
                                                                    ~ ~c~~n~~,~ ~ ;->~:~r; ; 1.",[di~~5~~DTl p
          ~~~~~-~~~na~ s~~~ ~.~~~~~~.~e~d ~a~~hi~ debt ~,~~,l~~t~~'

          ~a~l~   r'~1~   ~ .~i~:~1   ~? .'~. ~.   r~E? 'i~~~d~   i{C~i~'    ~~"?~~~' ~7'idl~: ~i~9i~
Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 12 of 19 Page ID #:32



     THIS IS A NOTICE OF RESERVATION OF RIGHT FOR INITIATYNG

     COUNTERCLAIM AND FILING A CLAIM AGAINST AN OFFICIAL ~ONDB

         CKark Mclean -President
          paramount Recovery System
      ~~NAME OF COMPANY OR BOND N LDER




                               ~**CAVE~T***


    7.      In the event that the debt collector does not respond to this
                                                                and these has
     °'Notice'° within the p~es~ribed time limit fcar ~:epon~►e

    likewise been no request for extension of time with good cause slow ~

     therein, then the debt collector agrees that debt collector has

     submitted a Eraudul~nt claims against ~espondent~ and reespondent can
                                                                       ng
      f ile a law suit Eor ~.osts, fees, and injuries incurred defendi
                                                                     n~ the
      against this fraudulent collectio~a by det~~. collector re~a~d~

      a'~o~e ~e~eren~.~~ accoun~a
     Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 13 of 19 Page ID #:33



                           __   __    VERIFICATION .AND__CERT_IFICATION
                                                                                    does herein
           8.          The undersigned consumer, Yoshio I Acosta
                                               s notice for validation of debt
           swear, declare, and affirm that thi
                                               consumer can competently state the
           and reservation of rights that the
                                                 tents are true, correct, and
           matter set forth herein, that the con
                                               tification is executed this 4th
           complete. This verification and cer

           day of November .2015




 ~
 ,~ ~
       .                                        PROOF OF SERVICE.
~., ~-'
                                                        under the State of
                 I declare under penalty of perjury
                                                        "!~l~~r,~_~-: ~ +~~,~ v~~3.c~z~r~~~ aE
            ~~lifr~~~iia ~~$~ I p~~s~a~~bly :~~~? ~~ w
                                                                                            Pages}
                                                tor's Disclosure Statement" (3
            Debt" (5 Pages) and "Debt Collec
                to all parties listed below at:


                 Paramount Recovery System
                 105 Deanna Street

                 Robinson, Texas 76706
                                                                                                      e,
                                                          November 2015      I certify this to be tru
                ~n this 4th               R~_ day of

                 ~.orreet, and ~.~an~p~.~e~


                                     ~~


                  Q.                      .•
                       ~ ~ n t~ar~~ n. C . s~i'rn~~ ..~


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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 14 of 19 Page ID #:34

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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 15 of 19 Page ID #:35




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 EgviF,4x
  CREDIT FILE: October 12, 2015                                                                                                                         Confirmation # 5285003525
                                                                                                                            Please address all future correspondence to:
  Personal ldentlfica ion lnfarmation               f~,►s seation;nc~uc~s yvvrname;currant nndprev~ous
  9ddlessesiandanyother:dentffyingirsfol~rnationrepartedbyyour:creditors.)                                                  ~            www,investigate.equifax.com
 Name On File:               Yoshio I Acosta                                                                                             Equifax Information Services LLC
 Social Security #           XXX-XX-4534       Age: 30                                                                               .,  P.O. Box 105374
                             10364 Valle Fertil Dr, EI Paso, TX 79927 Reported: 10/2015                                          ~~      Atlanta GA 30348
 Current Address:
 Previous Address(es):       9030 Betel Dr Apt F11 , EI Paso, TX 79907 Reported: 09/201 1                                      ~~               (866) 238-6559
                             4649 Turf Rd Trlr 9, EI Paso, TX 79938 Reported: 07/2014                                           ~               M - F 9:OOam to 5:OOpm in your time zone.
                             15580 Salt Bush Dr, EI Paso, TX 79938 Reported: 12/2013
                             15100 Gwendolyn Dr, EI Paso, TX 79938 Reported: 11/2011
                             367 Escalante Dr, Socorro, TX 79927 Reported: 09/2010
                             1287g Reid Rd, EI Paso, TX 79927 Reported: 05/2015
                                                                                                                                              \
                             10308 Reid Rd, EI Paso, TX 79927 (915) 858-8769 Reported: 71/2011
                                                                                                    local; state Qnd fede~a~ cga[ts,)
   ;Pub1iC I~BCoI'd infor.ma#ioll .. (Ti~is.section includespublic record ~te~r►s ntirained from
                                                                Paso; Case   or ID   # - 0731633;     Type -Personal; Filer - Individual; Current Disposition -Dismissed/Closed CH-13; Current
   Wage Earner Plan Filed 7 2/2007; US Bankruptcy Court-EL
                                                                                                             ess: 8515 LOCKHEED DR EL PASO, TX 79925-1218: (915) 779-7362
   Disposition Date 03/05/2009; Date Reported 03/11 /2009; Prior Disposition - CH-13 Filed;Addr
                                                                                              Amount - $4,543 ;Class -Federal; Address: 500 E SAN ANTONIO AVE RM 105 EL PASO, TX
   Lien Filed 01 /2008; EL Paso County Clerk - EL Paso; Case or ID # - 20080007741;
   79907 -2420: (97 5) 546-2071
                                                                                                                    for.Co/%ctiai with a cvl/ection agehc
    CD/19C~417 A' BI7C IlfO!'ltlet101i (7his secfron includes aacce~nfs:th~t c`ied# ~g`antorShq'r!e:plsCed
                                                                                                          - Medical/Health Care; Client -SIERRA Providence East Medical; Amount - $887 ;Status as
   Syndicated Office Systems; Collection Reported 03/2011; Assigned 05/2010; Creditor Class.
                                                                                               ;               Account; Account # - 7026281781; Address: 770 The CitKDr S South 6000-27 Orange
   of 03/2011 -Unpaid; Date of 1st Delinquency 02/2010; Balance as of 03/2071 - $887 Individual
   CA 92868-4900: (800) 300-7192
                                                                                                          - Medical/Health Care; Client -SIERRA Providence East Medical; Amount - $1,255 ;Status
   Syndicated Office Systems; Collection Reported 03/2011; Assigned 7 2/2009; Creditor Class
                                                                                          - $1 ,255   ; Individual   Account; Account # - 975046740; Address: 770 The City Dr S South 6000-27
   as of 03/201 1 -Unpaid; Date of 1st Delinquency 09/2009; Balance as of 03/2011
   Orange CA 92868-4900: (800} 300-7192
                                                                                                                                                                                                        as
                                                                                                           - Medical/Health-C~re; Client -SIERRA Providence East Medical; Amount - $695 ; Status
   Syndicated Office Systems: Collection Reported 03/2011; Assigned 09/2009; Creditor Class                                                                         The City Dr S  South 6000-27 Orange
                                                                                                ;              Account; Account # - 941800677; Address: 770
   of 0312011 -Unpaid; Date of 1st Delinquency 05/2009; Balance as of 03/2011 - $695 Individual
   CA 92868-4900: (800) 300-7192
                                                                                                                                                                                                        as
                                                                                                  Class - Medical/Health Care; Client -SIERRA Providence East Medical; Amount - $449 ; Status
   Syndicated Office Systems; Collection Reported 03/2011; Assigned 07/2010; Creditor                                                               5; Address:  770  The City Dr S South 6000-27 Orange
                                                                                                ;              Account; Account # - 104255901
   of 03/2011 -Unpaid; Date of 1st Delinquency 04/2010; Balance as of 03/2011 - $449 Individual
   CA 92868-490     0: (800) 300-7192
                                                                                              5;          - Chamizal Emergency Physicians; Amount - $506 ;Status as of 05/2015 -Unpaid; Date of
   Commonwealth Financial Systems; Collection Reported 05/2015; Assigned 04/207 Client
                                                                         Account;     Account     # - D6532613     8N1; Address: 245 Main St Dickson City PA 7 851 9-1641
   1 st Delinquency 02/2010; Balance as of 05/2015 - $506 ; Individual
                                                                                                       Class - Medical/Health Care; Client - Questcare ER Del SOL Medical; Amount - $545 ;Status
    P ramount Recovery Systems; Collection Reported 09/2015; Assigned 08/2010; Creditor                                                                                                                 TX
                                                                                           - $545 ; Indi~~idual Account; Account # - MACSQPMS163000653; Address: 111 E Center St Lorena
~ as of 09/2015 -Unpaid; Date of 1st Delinquency 06/2010; Balance as of 09/2015
    76655-9657 : (254) 857-7007
                                                                                                                                                                                             $240 ;Status
                                                                                            Creditor Class - Medical/Health Care; Client - Questcare ER Del SOL Medical; Amount -
    P amount Recovery Systems; Collection Reported 09/2015; Assigned 12/2009;                                                             MACSQPM       S1627127  80; Address:1   11 E Center St Lorena TX
                                                                                           - $240 ; Individual Account; Account # -
 -     of 09/2015 -Unpaid; Date of 1st Delinquency 09/2009; Balance as of 09/2015
    76655-9651 : (254) 857-7007
                                                                                                                                                                                                             Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 16 of 19 Page ID #:36




                                                                                                 Page ~ of 12                                          5285003525GER-002051448- 774 - 871 - ASD
   ( Continued On Next Page)
Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 17 of 19 Page ID #:37


    1                             CERTIFICATE OF SERVICE

    2             I Ce r tif y tha t o true and correct copy of the attached

    3    together with all attachments, exhibits, and supporting papers, were

    4    served by sent properly addressed envelope with first class postage duly

    5    paid, and hand delivered to the proper prision mail personnel, in accordance

    6    with Houston v. Lack, 487 U.S. 266, 270 (1988), to:

    7    the Clerk of the Court
         for the U.S. District Court
    8    Central iJistrict of California
         X12 N. Spring Street
    9    Los Angeles, ~P, 90012

   io.
   11

   12    Dated and Executed this 30        day of September     ~ 201 6

   13

   14           I declare under the penalty of perjury that the foregoing

   15    is true and correct to the best of my lmowledge. Executed at Adelanto,

    16   California.

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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 18 of 19 Page ID #:38




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Case 2:16-cv-08477-FMO-PLA Document 1-1 Filed 11/15/16 Page 19 of 19 Page ID #:39
